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1                               UNITED STATES DISTRICT COURT

2                                      DISTRICT OF NEVADA

3      JAY JIM,
4                                                      3:19-cv-0011-MMD-CLB
                                     Plaintiff,
5         v.
                                                       ORDER
6      AITOR NARVAIZA,
7
                                Defendant.
8
       _______________________________
9
       JAY JIM,                                        3:19-cv-0179-MMD-CLB
10
                                     Plaintiff,
11
          v.
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       AITOR NARVAIZA,
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                                Defendant.
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17         The parties in both of the above-captioned cases entered into a binding settlement

18   on September 22, 2020 (ECF Nos. 40 & 18). Neither Plaintiff nor Defendants shall be
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     required to pay the $350 filing fee in these cases. The Clerk of Court shall cease collecting
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     the filing fee in both of the above-referenced cases. To extent that the Nevada Department
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     of Corrections is deducting and paying the Clerk of Court any funds from plaintiff’s inmate
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     account for the filing fee for either case, those deductions shall cease immediately. The
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24   Clerk of Court shall SEND a copy of this order to the Finance Division of the Clerk’s Office

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     and to the Chief of Inmate Services for the Nevada Department of Corrections, P.O. Box
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2    7011, Carson City, NV 89702.

3            October 20, 2020
     DATED: __________________.
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                                             ______________________________________
6                                            UNITED STATES MAGISTRATE JUDGE

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